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                                UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS                                 AM     tO   06
                                       AUSTIN DIVISION
                                                                                CLtRh.:
CANDACE D. ARLEDGE, individually, and
on behalf of all others similarly situated,                                        ,   _--i_
                                                                                           ..   -t.c    t




         Plaintiff,                                       Case No. 1 :21-cv-00974-LY

                                                          Honorable Judge Lee Yeakel

HARLEY-DAVIDSON FINANCIAL
SERVICES, INC.,

         Defendant.


                                                          ORDER

    This cause coming before the Court on the Motion to Extend Time to File Dismissal Papers;

the Court being fully advised in the premises and having jurisdiction of the subject matter, IT IS

HEREBY ORDERED:

          1.          The deadline for Plaintiff to file dismissal papers is extended up to and including

          August 29, 2022.




Dated:

                                                          UNITS




                                                      I
